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                                                            No. 17-1020
                                                      Filed: Septembet 29, 2017

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NASRAM. ARAFAT,                                                                    5r!   2S   :i:7
                                                                                   U.S, COURI-OF
               Pluntiff, pro           se,                                        FEDERAL CLAIMS




THE TINITED STATES,

               Defendant.

****t +**** *+*********                        ******************   *

                                                      ORDER OF DISMISSAL

        On July 27, 2017, Plaintiff filed a Complaint in the United States Court of Federal Claims.
On that same day, Plaintiff filed a Motion For lnjunctive Relief. On August 1, 2017, Plaintiff filed
a Second Motion For Injunctive Relief.

       On August 14,2017 , the Govemment filed a Motion To Dismiss Plaintiff s July 27,2017
Complaint. Plaintiffs Response to the Government's August 14,2017 Motion To Dismiss was
due on September 11,2017. As ofSeptember 12,2017,however, Plaintiffhad not filed a response
or objection with the court.

       On September 12,2017, the court issued an Order To Show Cause, ordering the Plaintiff
to show cause why the above-captioned case should not be dismissed for failure to prosecute. The
Response to the court's September 12,2017 Order was due on September 25, 2017. As of
September 29, 2017, Plaintiffhas not complied with the court's September 12,2017 Order.

       Rule of the United States Court of Federal Claims ("RCFC') 41(b) states that the court
may dismiss an action, on its own motion, "[i]f the plaintiff fails to prosecute or to comply with
[the RCFC] or a court order[.]" In light of Plaintiff s failure to prosecute the above-captioned case
and comply with court-mandated deadlines, the court has determined to dismiss Plaintiff s July
27,2017 Complaint for failure to prosecute.

              Accordingly, the Clerk of Court is directed to close this case. All pending motions are
dismissed as moot.

              IT IS SO ORDERED.




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